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13 Attorneys for Defendants

14                                  UNITED STATES DISTRICT COURT
15
                                  NORTHERN DISTRICT OF CALIFORNIA
16
                                        SAN FRANCISCO DIVISION
17

18
     STATE OF CALIFORNIA and GAVIN                )    Case No. 3:25-cv-03372-JSC
19   NEWSOM, in his official capacity as Governor )
     of California,                               )    DECLARATION OF LUKE MATHERS IN
20                                                )    SUPPORT OF DEFENDANTS’
             Plaintiffs,                          )    ADMINISTRATIVE MOTION FOR LEAVE TO
21                                                )    FILE SUPPLEMENTAL BRIEF
         v.                                       )
22                                                )
     DONALD J. TRUMP, et al.,                     )
23                                                )
             Defendants.                          )
24                                                )
25          1.     I am a Trial Attorney in the U.S. Department of Justice, Civil Division, Commercial
26 Litigation Branch, International Trade Field Office, in New York, New York. I am one of the attorneys

27 responsible for representing defendants in the above-captioned case. This declaration is based on

28

     DECLARATION OF LUKE MATHERS
     No. 3:25-cv-03372-JSC                         1
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 1 personal knowledge that I obtained in the performance of my official duties.

 2          2.      This declaration is submitted pursuant to Civil Local Rule 7-11(a), to explain why a

 3 stipulation could not be obtained from plaintiffs State of California and Gavin Newsom to provide the

 4 relief requested in defendants’ administrative motion for leave to file a supplemental brief.

 5          3.      On May 29, 2025, I emailed counsel for plaintiffs asking whether plaintiffs would

 6 stipulate to the relief requested in defendants’ administrative motion.

 7          4.      On May 29, 2025, counsel for plaintiffs responded that they would stipulate only if

 8 defendants stipulated in advance that plaintiffs could file a response.

 9          5.      On May 29, 2025, I emailed counsel for plaintiffs asking whether plaintiffs would instead

10 not oppose the relief requested in defendants’ administrative motion.

11          6.      On May 29, 2025, counsel for plaintiffs responded that they were willing to not oppose

12 defendants’ administrative motion only if defendants agreed in advance to not oppose a future

13 administrative motion by plaintiffs to file a response; otherwise, plaintiffs reserved their rights to oppose

14 defendants’ administrative motion.

15          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

16 correct.

17 Dated this 30th day of May, 2025.                       s/Luke Mathers
                                                          LUKE MATHERS
18                                                        Trial Attorney
                                                          U.S. Department of Justice
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     DECLARATION OF LUKE MATHERS
     No. 3:25-cv-03372-JSC                            2
